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                      UNITED STATES DISTRICT COURT
                       DISTRICT OF MASSACHUSETTS
_______________________________________

 UNITED STATES OF AMERICA                            No. 1:21-cr-10256-IT

        v.                                           Violation:

 KINGSLEY R. CHIN,                                   Count One: False Statements
                                                     18 U.S.C. § 1001(a)(2)
         Defendant



                                SUPERSEDING INFORMATION

       The United States Attorney alleges that, at all times relevant to this Information:

       1.      Defendant KINGSLEY R. CHIN, M.D. was a Florida resident, and the founder,

principal owner, President, and Chief Executive Officer of SpineFrontier, Inc.

       2.      SpineFrontier, Inc. (“SpineFrontier”) was a Delaware corporation with a principal

place of business in Malden, Massachusetts. SpineFrontier designed, manufactured, marketed,

and sold spinal medical products, including in the District of Massachusetts. Surgeons used these

products in spine surgeries that Federal health care programs paid for throughout the United States.

       3.      As of March 31, 2013, the Physician Payments Sunshine Act, 42 U.S.C. § 1320a-

7h(a)(1)(A), required medical device manufacturers (“covered manufacturer(s)”), such as

SpineFrontier, to disclose to the Centers for Medicare and Medicaid Services (“CMS”) any

payment or transfer of value made to physicians, including surgeons, or hospitals, as well as any

physician ownership or investment in the covered manufacturer.

       4.      CHIN became aware of his and SpineFrontier’s obligations under the Physician

Payments Sunshine Act to accurately and truthfully report any payment or transfer of value made

to a physician by at least the end of 2014.



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       5.      SpineFrontier operated a consulting program, the ostensible purpose of which was

for SpineFrontier to pay surgeons in exchange for legitimate consulting services from those

surgeon-consultants.

       6.      Despite knowing that it was unlawful to use the payment of consulting fees not for

genuine consulting services, but rather to induce doctors to use SpineFrontier products in surgeries

reimbursed by federal healthcare programs, CHIN instructed members of his sales team that “[i]n

our sales model the investment opportunity and consultant fees are two effective tools” and that

surgeon consultants would be “paid $500 per cervical construct and $1000 per lumbar construct to

give us feedback.”

       7.      Consistent with CHIN’s direction, sales representatives and other SpineFrontier

employees told surgeon-consultants that they could bill SpineFrontier for consulting hours up to a

certain amount per surgical case they performed using SpineFrontier products. Again consistent

with CHIN’s direction, one or more surgeon-consultants billed SpineFrontier, and SpineFrontier

paid fees that had been based on the number of surgeries that used SpineFrontier products, rather

than based upon the amount of consulting services performed.

       8.      Specifically, Surgeon No. 3 was a spine surgeon who practiced medicine in Illinois

and Florida and used SpineFrontier products in spine surgeries.

       9.      On one or more occasions, Surgeon No. 3 billed SpineFrontier, and SpineFrontier

paid him for consulting hours based on the number of surgical cases that he performed rather than

based on the number of hours he actually spent consulting.

       10.     Knowing that Surgeon No. 3 did not actually perform the consulting work for which

SpineFrontier paid him, CHIN directed employees at SpineFrontier to report the payment of fees




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to CMS as “Consulting Fees,” including at least reporting a payment of $4,750 made on or about

January 19, 2016, which was a materially false statement to CMS.




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                                          COUNT ONE
                                         False Statements
                                     (18 U.S.C. § 1001(a)(2))

       The United States Attorney charges:

       11.       The United States Attorney re-alleges and incorporates by reference paragraphs 1

through 10 of this Information:

       12.       On or about January 19, 2016, within the District of Massachusetts and elsewhere,

the defendant:

                                       KINGSLEY R. CHIN

did knowingly and willfully make or cause another to make, a materially, false, fictitious, and

fraudulent statement or representation concerning a material fact within the jurisdiction of the

executive branch of the government of the United States, that is the Centers for Medicare and

Medicaid Services, to wit, that the payment made to Surgeon No. 3 of $4,750 was for “Consulting

Fees” when in fact that statement was false.

       All in violation of Title 18, United States Code, Section 1001(a)(2).




                                               LEAH B. FOLEY
                                               United States Attorney
                                               District of Massachusetts

                                               /s/ Christopher Looney
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